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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

                                     )
AMIR HEKMATI,                        )
                                     )
                   Plaintiff,        )
                                     )
      v.                             )       Case No. 1:16-cv-00875 (ESH)
                                     )
THE GOVERNMENT OF THE                )
ISLAMIC REPUBLIC OF IRAN,            )
Its Ministries, Agencies, and        )
Instrumentalities,                   )
                                     )
                   Defendants.       )
                                     )


EX. A TO PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF
       LAW IN SUPPORT OF HIS MOTION FOR DEFAULT JUDGMENT




         **FILED UNDER SEAL
     PENDING COURT’S RULING ON
PLAINTIFF’S MOTION FOR LEAVE TO FILE
      DOCUMENTS UNDER SEAL**
